  Case 19-36457      Doc 17    Filed 01/31/20 Entered 02/01/20 14:45:36               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:      19-36457
Anthony Meeks                               )
Steffanie Meeks                             )               Chapter: 13
                                            )
                                                            Honorable Janet S. Baer
                                            )
                                            )               Kane
               Debtor(s)                    )

                               Order Dismissing Case for Ineligibility

       This matter coming on the chapter 13 trustee's motion to dismiss, due notice having been given,
and the Court being fully advised in the premises,

  IT IS HEREBY ORDERED that the above-caption case is dismissed pursuant to 11 U.S.C. section
109(e).




                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: January 31, 2020                                           United States Bankruptcy Judge

 Prepared by:
 Glenn Stearns, Chapter 13 Trustee
 801 Warrenville Rd., Suite 650
 Lisle, IL 60532
